                 Case:21-11233-MER Doc#:3 Filed:03/15/21                                            Entered:03/15/21 17:00:21 Page1 of 2


 Fill in this information to identify the case:
 Debtor name Denver Select Property, LLC
 United States Bankruptcy Court for the: DISTRICT OF COLORADO                                                                                         Check if this is an

 Case number (if known):                21-11233                                                                                                      amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Better Business                                                 Bookkeeping and        Contingent                                                                          $6,795.00
 Accounting                                                      accounting             Unliquidated
 P.O. Box 140975                                                 services
 Denver, CO 80214
 Books, Esther                                                   Loans to company Contingent                                                                              $40,033.00
 6681 W. Virginia                                                used for purchase Unliquidated
 Ave.                                                            of equipment,
 Lakewood, CO                                                    supplies,
 80226                                                           services, etc.
 Century Link                                                    Phone services    Contingent                                                                               $1,577.89
 P.O. Box 91155                                                                    Unliquidated
 Seattle, WA
 98111-9255
 Clear Creek County                                              Clear Creek                                                                                                $1,426.06
 Tax Assessor                                                    County Taxes
 PO Box 2000
 Georgetown, CO
 80444
 Clear Creek County                                              Clear Creek                                                                                                $9,381.72
 Tax Assessor                                                    County Taxes
 PO Box 2000
 Georgetown, CO
 80444
 Clear Creek County                                              Clear Creek                                                                                                $7,556.84
 Tax Assessor                                                    County Taxes
 PO Box 2000
 Georgetown, CO
 80444
 Colorado Activity                                               Services               Contingent                                                                          $1,275.00
 Center                                                                                 Unliquidated
 P.O. Box 129
 701 Granite St., #270
 Frisco, CO 80443
 Comcast Business                                                Internet phone         Contingent                                                                          $1,092.47
 9602 S. 300 W Street                                            and cable              Unliquidated
 Sandy, UT 84070                                                 services



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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                 Case:21-11233-MER Doc#:3 Filed:03/15/21                                            Entered:03/15/21 17:00:21 Page2 of 2



 Debtor    Denver Select Property, LLC                                                                        Case number (if known)         21-11233
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Comcast Business                                                Internet phone         Contingent                                                                          $2,037.27
 9602 S. 300 W Street                                            and cable              Unliquidated
 Sandy, UT 84070                                                 services
 Core Publishing                                                 Advertising            Contingent                                                                          $1,000.00
 104 Broadway                                                                           Unliquidated
 Denver, CO 80203
 Empire Sports                                                   2017                   Contingent                                                                          $6,500.00
 Attn: Mark                                                      Building rental        Unliquidated
 Reynolds
 P.O. Box 127
 Georgetown, CO
 80444
 IPFS                                                            Financing of           Contingent                                                                          $6,945.26
 125 Whacker Dr.                                                 general liability      Unliquidated
 Suite 1650                                                      insurance
 Chicago, IL 60606
 IPFS                                                            Building supplies      Contingent                                                                          $2,444.12
 Dean and                                                                               Unliquidated
 Associates
 P.O. Box 790420
 Saint Louis, MO
 63179
 IPFS                                                            Financing of           Contingent                                                                          $2,250.57
 24722 Network                                                   primary general        Unliquidated
 Place                                                           liability policy
 Chicago, IL 60673
 Media Contour                                                   Website services       Contingent                                                                          $1,085.00
 19 Hillside Dr.                                                                        Unliquidated
 Denver, CO 80215
 Progressive Signs,                                              Signs                  Contingent                                                                          $4,197.13
 LLC                                                                                    Unliquidated
 3855 Pecos St.
 Denver, CO 80211
 Return on                                                       Accounting and         Contingent                                                                        $17,719.73
 Adventure                                                       controlling            Unliquidated
 1900 Little Raven St.                                           services
 Suite 120
 Denver, CO 80202
 ShrickHR                                                        HR consulting          Contingent                                                                          $1,964.00
 Consulting                                                                             Unliquidated
 1365 S. Ward Way
 Lakewood, CO
 80228
 Stewart Oxygen                                                  Oxygen, AED and        Contingent                                                                          $1,014.00
 Services                                                        CPR training           Unliquidated
 621 Southpark Drive
 Suite 700
 Littleton, CO 80120
 The Home Depot                                                  Building supplies      Contingent                                                                        $10,637.01
 P.O. Box 790420                                                                        Unliquidated
 Saint Louis, MO
 63179


Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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